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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

                                                )
RESCUECOM CORPORATION,                          )
                                                )
               Plaintiff,                       )
                                                )     5:04-CV-1055 (NAM)(GHL)
       vs.                                      )
                                                )
GOOGLE, INC.                                    )
                                                )
               Defendant.                       )
                                                )


                  DECLARATION OF SHAWN PATRICK REGAN IN
            SUPPORT OF DEFENDANT GOOGLE INC.’S MOTION TO DISMISS

SHAWN PATRICK REGAN, hereby declares the following under penalty of perjury pursuant to

28 U.S.C. § 1746:

       1.      I am an attorney with the law firm of Hunton & Williams LLP, counsel to

Defendant Google Inc. (“Defendant”). I am duly licensed to practice in the State of New York.

I am familiar with this matter and make this Declaration in support of Defendant’s Motion to

Dismiss.

       2.      Annexed hereto as Exhibit A is a true copy of the Complaint in this action
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I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 8th day of November, 2004 in New York, New York.

                                                          HUNTON & WILLIAMS LLP


                                                      By: /s/ Shawn Patrick Regan
                                                          Shawn Patrick Regan, Esq.
                                                          N.D.N.Y. Bar No. 510638
                                                          HUNTON & WILLIAMS LLP
                                                          200 Park Avenue, 43rd Floor
                                                          New York, NY 10166-0136
                                                          Telephone: (212) 309-1000

                                                          Attorneys for Google Inc.




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                                 DECLARATION OF SERVICE

       Raymond E. Galbraith, hereby declares under penalty of perjury, pursuant to 28 U.S.C.

§ 1746, that:


       I am a Litigation Paralegal at the firm of Hunton & Williams LLP, attorneys for

Defendant Google, Inc.

       That on November 8, 2004, I served a true copy of the foregoing on counsel for Plaintiff,

via electronic service, at the address listed below


       I declare under penalty of perjury that the foregoing is true and correct.


       Executed on November 8, 2004.


                                                  /s/ Raymond E. Galbraith
                                                    Raymond E. Galbraith


       TO:      Edmund J. Gegan, Esq.
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                Counsel for Plaintiff Rescuecom Corporation




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